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     LANGSAM STEVENS SILVER & HOLLAENDER LLP
     Larry D. Silver
     Amanda L. Rauer (NJ Bar No. 014312009)                             Order Filed on December 15, 2020
     1818 Market Street, Suite 2430                                     by Clerk
     Philadelphia, PA 19103                                             U.S. Bankruptcy Court
     Telephone: (215) 732-3255                                          District of New Jersey
     Facsimile: (215) 732-3260
     lsilver@lssh-law.com
     arauer@lssh-law.com


     Counsel for Occidental Chemical Corporation


                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW JERSEY

    In re:                                                   )   Chapter 11
                                                             )
    CONGOLEUM CORPORATION,                                   )
                                                             )   Case No. 20-18488 (MBK)
                           Debtor.                           )
                                                             )
                                                             )
                                                             )

                                ORDER FOR ADMISSION PRO HAC VICE

             The relief set forth on the following page is ORDERED.




DATED: December 15, 2020
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          This matter having been brought before the Court on application for an Order For
  Admission Pro Hac Vice; and the Court having reviewed the moving papers of the applicant, out-
  of-state attorney, and considered this matter pursuant to Fed.R.Civ.Proc.78, D.N.J. L.Civ.R.101.1
  and D.N.J. LBR 9010-1, and good cause having been shown; it is

          ORDERED that _____ Larry D. Silver__ be permitted to appear pro hac vice; provided
  that pursuant to D.N.J. L.Civ. R. 101.1(c)(4), an appearance as counsel of record shall be filed
  promptly by a member of the bar of this Court upon whom all notices, orders and pleadings may be
  served, and who shall promptly notify the out-of-state attorney of their
  receipt. Only an attorney at law of this Court may file papers, enter appearances for parties, sign
  stipulations, or sign and receive payments on judgments, decrees or orders, and it is further

          ORDERED that the applicant shall arrange with the New Jersey Lawyers' Fund for Client
  Protection for payment of the annual fee, for this year and for any year in which the out-of-state
  attorney continues to represent a client in a matter pending in this Court in accordance with New Jersey
  Court Rule 1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within twenty (20) days of the
  date of the entry of this Order, and it is further

          ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice
  admission to the District Court for the District of New Jersey shall also be payable within twenty (20)
  days of entry of this Order. Payment in the form of a check must be payable to "Clerk, USDC" and
  forwarded to the Clerk of the United States District Court for the District of New
  Jersey at the following address:

                                         United States District Court
                                            District of New Jersey
                                   Martin Luther King, Jr. Federal Building
                                                  50 Walnut
                                                     Street
                                                Newark, N.J.
                                                     07102
                                    Attention: Pro Hac Vice Admissions

          and it is further ORDERED that the applicant shall be bound by the Local Rules of the
  United States District Court for the District of New Jersey and the Local Rules of Bankruptcy
  Procedure for the District of New Jersey; and it is further

          ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New Jersey
 Lawyers' Fund for Client Protection within 5 days of its date of entry.



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